           CASE 0:13-cr-00236-RHK-LIB                  Doc. 77       Filed 01/14/14         Page 1 of 25




                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                                       No. 13-cr-236 (RHK/LIB)

                    Plaintiff,

v.                                                              REPORT AND RECOMMENDATION

Chauncey Ray Morris (1) and
Reginald Lee Graves (2),

                    Defendants.


           This matter came before the undersigned United States Magistrate Judge upon the

parties’ pretrial motions. This case has been referred to the undersigned Magistrate Judge for

report and recommendation, pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1. The Court

held a hearing on December 3, 2013, regarding the parties’ pretrial discovery motions, 1

Defendant Chauncey Ray Morris’s Motion to Suppress Evidence, [Docket No. 44], Defendant

Reginald Lee Graves’s Motion to Suppress All Physical Evidence, [Docket No. 49], Defendant

Reginald Lee Graves’s Motion to Sever, [Docket No. 51], and Defendant Reginald Lee Graves’s

Motion to Suppress Statements, [Docket No. 65]. For reasons discussed below, the Court

recommends that Defendant Morris’s Motion to Suppress Evidence, [Docket No. 44], be

DENIED, that Defendant Graves’s Motion to Suppress All Physical Evidence, [Docket No. 49],

be DENIED, that Defendant Graves’s Motion to Sever, [Docket No. 51], be DENIED, and that

Defendant Graves’s Motion to Suppress Statements, [Docket No. 65], be DENIED.




1
    The Court addressed the parties’ discovery motions in a separate Order, [Docket Nos. 72, 73].

                                                           1
        CASE 0:13-cr-00236-RHK-LIB                   Doc. 77        Filed 01/14/14         Page 2 of 25




I.       BACKGROUND AND STATEMENT OF FACTS 2

         A.       Background

         Defendants Morris and Graves are each charged with one count of aiding and abetting

Assault with a Dangerous Weapon, in violation of Title 18 United States Code Sections 2,

113(a)(3), 1151, and 1153(a). (Indictment [Docket No. 1]).

         The Court held a motion hearing on December 3, 2013, at which time the Court allowed

the parties the opportunity to submit additional post-hearing briefing regarding Defendants’

Motions to Suppress, [Docket Nos. 44, 49, 65]. Defendants’ post-hearing briefing was due on

December 17, 2013, and the Government’s briefing was due on January 3, 2014. (Minute Entry

[Docket No. 70]). Docket Numbers 44, 49, and 65 were therefore taken under advisement on

January 3, 2014. 3

         B.       Facts

         On the morning of June 17, 2012, Red Lake Police Officer Justin Jourdain was patrolling

the Barton’s Camp area of the Red Lake Indian Reservation when, at approximately 7:00 a.m.,

Officer Jourdain overheard an all-units dispatch reporting shots fired near the Circle Pines

housing development area of the reservation. Dispatch further advised that the suspect parties

had fled the scene in a green Dodge Durango.

         Upon immediately responding to the call and arriving at the Circle Pines housing area

shortly thereafter, Officer Jourdain spoke with a male bystander, identified as Charlie Coloff,

who reported witnessing the shots fired moments earlier and seeing a heavier male in a red shirt,



2
  The facts are derived from the December 3, 2013, testimony of Red Lake Police Officer Justin Jourdain, Red Lake
Conservation Officer Shannon Barron, and Red Lake Police Criminal Investigator Paul A. Kwako, in addition to
Government Exhibits 1, 2, and 3.
3
  As a result of the post-hearing briefing schedule and the Defendants’ approaching trial date, February 24, 2014, the
parties agreed to a shortened objections period – seven (7) days for objections to the report and recommendation,
seven (7) days for responses to objections.

                                                          2
          CASE 0:13-cr-00236-RHK-LIB          Doc. 77     Filed 01/14/14    Page 3 of 25




carrying what looked like an AK-47, and a second male shooter in black, carrying a shotgun. Mr.

Coloff told Officer Jourdain that the males had just left the scene in a dark green Dodge

Durango, in the direction of the Gonvick Truck Trail.

          Red Lake Conversation Officer Shannon Barron also heard and responded to the June 17,

2012, shots fired dispatch. Conservation Officer Barron immediately proceeded to the Circle

Pines housing area in his Ford F150 truck – a marked patrol vehicle – with lights and sirens.

Officer Jourdain arrived on scene just before Conservation Officer Barron. Over the radio,

Officer Jourdain informed Conservation Officer Barron that a witness observed a dark green

Dodge Durango and two males – one in red, one in black – in connection with the shots fired

call. Shortly thereafter, Conservation Officer Barron arrived on-scene and spoke with Mr. Coloff,

who again described witnessing the shooters leave the scene in a dark green Durango.

          The following pursuit of the suspect green Durango occurred immediately following and

contemporaneous with the shots fired call. Conservation Officer Barron observed tire tracks,

presumably left behind by the Durango, and took off in the same direction in which the Durango

was alleged to have left the scene moments earlier. While Conservation Officer Barron attempted

to follow the suspect vehicle, Officer Jourdain proceeded down Highway 89 to South Boundary

Road, in an attempt to intercept the suspect vehicle. Shortly thereafter, Officer Jourdain came

upon a Durango matching the description provided by Mr. Coloff, and he pursued with lights and

sirens.

          Testimony indicates that Officer Jourdain observed no other vehicles in the area at that

time, and that there was little chance that any other vehicles aside from the suspect Durango

were on the trail at that time.




                                                 3
       CASE 0:13-cr-00236-RHK-LIB            Doc. 77      Filed 01/14/14     Page 4 of 25




       Upon seeing Officer Jourdain’s marked patrol, the Durango immediately reversed

directions and headed back in the direction from which it came, refusing to pull over for several

miles, despite Officer Jourdain’s pursuit. Instead, the Durango – by all indications intentionally –

ran into Conservation Officer Barron’s marked vehicle, head-on. (See Gov’t Ex. 1).

       After the collision, four parties immediately exited the Durango. The front passenger was

a heavier male wearing a red shirt, matching one of the descriptions provided by Mr. Coloff. At

the motion hearing, Officer Jourdain identified the front passenger as Defendant Chauncey Ray

Morris. Seated behind the driver was a second male dressed in black, matching the second

description provided by Mr. Coloff. At the motion hearing, Officer Jourdain identified the

second male as Defendant Reginald Lee Graves.

       Although his vehicle had been hit head-on, Conservation Officer Barron got out of his

vehicle and ordered the male in the red shirt, later identified as Defendant Morris, on the ground.

Conservation Officer Barron testified that when Defendant Morris refused to comply, he kicked

him in the side, and Defendant fell to the ground. Conservation Officer Barron arrested,

handcuffed, and secured Defendant Morris. When conducting a search of Morris’s person

immediately incident to arrest, Officer Barron found shell casings on Defendant Morris’s person.

Upon his arrest, Defendant Morris was given a Miranda warning.

       Conservation Office Barron testified that he did not observe any indications that

Defendant Morris may have been injured or otherwise in need of medical attention of any kind,

whether as a result of the vehicle collision or Officer Barron’s takedown kick.

       The officers similarly ordered the male later identified as Defendant Graves on the

ground. Defendant Graves was not compliant; however, officers were able to subdue and arrest

him. Defendant Graves was also read his Miranda rights upon arrest.



                                                 4
       CASE 0:13-cr-00236-RHK-LIB            Doc. 77      Filed 01/14/14     Page 5 of 25




       The testifying officers did not observe any indications that Defendant Graves may have

been injured or otherwise in need of medical attention.

       Both Defendant Graves and Defendant Morris were booked into custody and read their

Miranda rights. Officer Jourdain testified that he did not observe any signs of injury or any

indication that either man had sustained any injuries or required any medical attention upon

arriving at the Red Lake Detention Center.

       Law enforcement’s pursuit of the green Durango and the subsequent collision and arrests

happened immediately after and contemporaneous with the shots fired call.

       Also at the motion hearing, Red Lake Police Criminal Investigator Paul A. Kwako, the

criminal investigator assigned to the present case, testified. CI Kwako was the on-call

investigator the day of the incident. After being informed that a vehicle suspected of involvement

in a shots fired report had collided with a conservation vehicle, CI Kwako proceeded to the

collision site and processed the scene. CI Kwako testified that the conservation vehicle had been

“hit hard” with “some speed” by a green Dodge Durango. CI Kwako began photographing the

scene, at which time he observed a knife, pepper spray, a live rifle round, a live .22 round, and a

30-round magazine in plain view in the suspect Durango. CI Kwako collected these materials as

evidence.

       Upon finishing his work at the collision site, CI Kwako proceeded to the house that had

allegedly been the target of the shots fired call. CI Kwako observed that Melanie Sumner’s house

in the Circle Pines housing area had indeed been “shot up,” as CI Kwako noted observable bullet

holes in the sides of the residence, shell casings outside of the home, and even a bullet inside of

the home. CI Kwako took statements from individuals at the house, including Melanie Sumner’s.




                                                5
       CASE 0:13-cr-00236-RHK-LIB            Doc. 77     Filed 01/14/14      Page 6 of 25




       The following day, on June 18, 2012, at approximately 11 a.m., CI Kwako arrived at the

Red Lake Detention Center with FBI Special Agent Stefan Pluta, to speak with Defendants. CI

Kwako testified that when he and SA Pluta interviewed Defendant Morris, he was not placed in

restraints during the interview, and neither CI Kwako nor SA Pluta was armed during the

interview. CI Kwako and SA Pluta introduced themselves and explained why they were there.

Defendant Morris was given Miranda warnings and provided an FBI Form FD-395: Advice of

Rights. (Gov’t Ex. 2). CI Kwako explained each enumerated right on the Form, asked Defendant

Morris if he understood each right, and checked-off the rights as Defendant indicated he

understood them as he proceeded down the Form. Defendant Morris read and signed the form at

approximately 11:15 a.m., after agreeing to speak with CI Kwako and SA Pluta. (Id.)

       Defendant Morris stated that on June 16, 2012, he had been drinking through the night

and into the early morning hours of June 17, 2012. Sometime in the early morning of June 17,

2012, someone offered to take a group of them on a drive. Defendant Morris went on to admit to

the collision involving Conservation Officer Barron. However, when the conversation began to

shift towards the shots fired call, Defendant Morris stopped talking and the interview concluded.

       CI Kwako testified that Defendant Morris did not have any observable injuries, nor did

Defendant Morris complain at any time of discomfort or injury. There were no indications that

Defendant Morris did not understand the questions or what was going on. Neither CI Kwako nor

SA Pluta made any threats or promises; neither deprived Defendant Morris of any food, water,

the opportunity to use the bathroom facilities, etc.; nor did either law enforcement officer employ

any coercive techniques. CI Kwako testified that there was no evidence of drug or alcohol

impairment with respect to Defendant Morris.




                                                6
       CASE 0:13-cr-00236-RHK-LIB            Doc. 77      Filed 01/14/14     Page 7 of 25




       Following Defendant Morris’s interview, CI Kwako and SA Pluta interviewed Defendant

Graves. They followed the same process they employed with Defendant Morris: the officers

introduced themselves, explained the purpose of the interview, gave Defendant Graves a

Miranda warning, and went over the Advice of Rights Form. CI Kwako explained each

enumerated right on the Form, asked Defendant Graves if he understood each right, and checked-

off the rights as Defendant indicated he understood them as he proceeded down the Form.

Defendant Graves read and signed the Advice of Rights Form after agreeing to speak with the

officers at approximately 11:34 a.m. (Gov’t Ex. 3). As with Defendant Morris, at no point did

either CI Kwako or SA Pluta make any threats or promises or in any other way coerce or

intimidate Defendant Graves.

       Defendant Graves told the officers that he had been drinking the night of June 16, 2012,

into the early morning hours of June 17, 2012. Defendant Graves stated that a male (referred to

as Keith, Keef, or Jules) offered to give the group a ride in a green Durango to the Circle Pines

neighborhood. Defendant Graves then described the collision with Conservation Officer

Barron’s vehicle. Defendant Graves made no statements or admissions concerning the shots fired

call. Defendant Graves gave a DNA sample and was generally cooperative during the interview.

II.    DEFENDANT GRAVES’S MOTION TO SEVER, [DOCKET NO. 51]

       Defendant Graves moves the Court for an order severing his case from that against his

co-defendant, Chauncey Ray Morris. Defendant Graves generally argues that the investigation of

Defendant Morris involves specific facts and evidence to be offered at trial against Defendant

Graves, the admission of which will likely cause confusion and prejudice towards Defendant

Graves, depriving him of a fair trial. Defendant Graves further alleges, in only general terms, that




                                                 7
       CASE 0:13-cr-00236-RHK-LIB            Doc. 77     Filed 01/14/14      Page 8 of 25




“[t]here is a conflict of interest between the defendants that cannot be resolved absence

severance.” (Def.’s Mot. for Severance [Docket No. 51]).

       A.      Standard of Review

       An indictment may charge two or more defendants “if they are alleged to have

participated in the same act or transaction, or in the same series of acts or transactions,

constituting an offense or offenses.” Fed. R. Crim. P. 8(b). “For proper joinder under this

provision, it is not necessary that every defendant have participated in or be charged with each

offense.” United States v. Warfield, 97 F.3d 1014, 1019 (8th Cir. 1996) (internal quotation and

citation omitted).

       The Federal Rules of Criminal Procedure also provide that, if joinder creates prejudice to

either the Government or a defendant, the Court may sever a trial “or provide any other relief

that justice requires.” Fed. R. Crim. P. 14(a). However, “[i]f, under Rule 8, joinder is proper,

then the defendant seeking severance has a ‘heavy burden’ in demonstrating that a joint trial will

impermissibly infringe his right to a fair trial.” United States v. Hopkins, No. 11-cr-230

(DWF/SER), 2011 U.S. Dist. LEXIS 127071, at *25-26 (D. Minn. Oct. 5, 2011) (Rau, M.J.)

(citing Warfield, 97 F.3d at 1019), adopted by 2011 U.S. Dist. LEXIS 124904 (D. Minn. Oct. 26,

2011) (Frank, J.). “There is a preference in the federal system for joint trials of defendants who

are indicted together.” Zafiro v. United States, 506 U.S. 534, 537 (1993); see also United States

v. Clay, 579 F.3d 919, 927 (8th Cir. 2009). “Joint trials play a vital role in the criminal justice

system,” because they achieve certain efficiencies, and because they “avoid[] the scandal and

inequity of inconsistent verdicts.” Richardson v. Marsh, 481 U.S. 200, 209-10 (1987). “Only in

an unusual case will the prejudice resulting from a joint trial be substantial enough to outweigh

the general efficiency of joinder.” Clay, 579 F.3d at 927 (citing United States v. Al-Esawi, 560



                                                8
         CASE 0:13-cr-00236-RHK-LIB            Doc. 77     Filed 01/14/14       Page 9 of 25




F.3d 888, 891 (8th Cir. 2009)). “The risk of prejudice posed by joint trials is best cured by

careful and thorough jury instructions.” United States v. Mickelson, 378 F.3d 810, 818 (8th Cir.

2004).

         B.     Analysis

         In the present case, Defendant Graves does not argue that joinder was improper under

Rule 8(b). Rather, Defendant Graves argues – in only general terms – that severance pursuant to

Fed. R. Crim. P. 14(a) is necessary in order to avoid potential prejudice and the mere possibility

of an infringement of his Sixth Amendment confrontation rights.

         “Defendants have a Sixth Amendment right to confront witnesses against them, and a

Fifth Amendment right not to be made witnesses against themselves. ‘In a joint trial, these rights

collide when co-defendants implicate each other in confessions that are introduced into

evidence.’” United States v. Banks, No. 11-cr-173 (MJD/JJK), 2011 U.S. Dist. LEXIS 77703, at

*5 (D. Minn. July 1, 2011) (Keyes, M.J.), adopted by 2011 U.S. Dist. LEXIS 77195 (D. Minn.

July 15, 2011) (Davis, C.J.). In Bruton v. United States, the petitioner and a co-defendant had

been convicted of armed robbery in a joint trial after a postal inspector testified that Bruton’s co-

defendant had confessed and had “expressly implicat[ed]” the petitioner. 391 U.S. 123, 124, 124

n.1 (1968). The trial court instructed the jury that the co-defendant’s confession “if used, can

only be used against the [co-defendant]. It is hearsay insofar as the [petitioner] is concerned, and

you are not to consider it in any respect to the [petitioner], because insofar as he is concerned it is

hearsay.” Id. at 125 n.2. The Supreme Court, however, concluded that,

                [T]he introduction of [the co-defendant’s] confession posed a
                substantial threat to petitioner’s right to confront the witnesses
                against him, and this is a hazard we cannot ignore. Despite the
                concededly clear instructions to the jury to disregard [the co-
                defendant’s] inadmissible hearsay evidence inculpating petitioner,
                in the context of a joint trial we cannot accept limiting instructions

                                                  9
      CASE 0:13-cr-00236-RHK-LIB             Doc. 77     Filed 01/14/14      Page 10 of 25




               as an adequate substitute for petitioner’s constitutional right of
               cross-examination. The effect is the same as if there had been no
               instruction at all.

Id. at 137. For that reason, the Supreme Court reversed the petitioner’s conviction in Bruton. Id.

at 126, 137.

       However, even the Bruton court suggested that redaction from co-conspirator testimony

may be sufficient to cure any prejudice caused by the introduction of a co-defendant’s

incriminating statement, and acknowledged that “[n]ot every admission of inadmissible hearsay

or other evidence can be considered to be reversible error unavoidable through limiting

instructions.” Id. at 134 n.10, 135. In Richardson v. Marsh, 481 U.S. 200 (1987), the Supreme

Court further distinguished between co-defendant statements that are “facially incriminating,”

and statements which merely are “incriminating by connection.” Id. at 209. When a co-

defendant’s statement is facially incriminating of the defendant, redaction or even severance may

be required because it is more difficult for jurors to set aside such evidence. Id. at 208. However,

the Court rejected the suggestion that the rule in Bruton extend to confessions that are

incriminating by connection as both impractical and unnecessary. Id. at 208-09.

       In the present case, Defendant Graves has not supported his motion by identifying any

specific “facially incriminating” statements that he believes would, if introduced at trial,

prejudice him. Even if Defendant Graves had identified one or more facially incriminating

statements made by Defendant Morris, “Bruton can be complied with by redaction – a possibility

suggested in that opinion itself.” Richardson, 481 U.S. at 209 (citing Bruton, 391 U.S. at 134

n.10). Nor has Defendant Graves articulated any specific reason why the jury would be unable to

compartmentalize any such redacted evidence upon being given proper instructions to do so.




                                                10
       CASE 0:13-cr-00236-RHK-LIB            Doc. 77      Filed 01/14/14        Page 11 of 25




       As expressed by the United States Supreme Court in Zafiro, 506 U.S. 534; and

Richardson, 481 U.S. 200; and by the Eighth Circuit in Clay, 579 F.3d 919; Al-Esawi, 560 F.3d

888; and Warfield, 97 F.3d 1014; and by the District of Minnesota in Hopkins, 2011 U.S. Dist.

LEXIS 127071, there is a strong preference in the federal courts for joint trials. Given that

preference, and at this very early juncture, where Defendant Graves can only invite the Court to

speculate as to what evidence the Government will actually seek to introduce at trial, or whether

Defendant Morris will ultimately refuse to testify in his own defense thereby denying Defendant

Graves an opportunity to cross examine, severance is not at this time appropriate:

               With respect to possible infringement of defendant[’s] right to
               confront his co-defendant concerning recorded statements made by
               the co-defendant, the motion for severance can properly be
               determined at or near the time of trial at which time it can be
               determined whether the government will seek to introduce all or
               selected portions of the recorded statements, and whether [the co-
               defendant] will exercise his right to testify or his Fifth Amendment
               right. Severance is a remedy that can be provided at the time of
               trial if appropriate under the circumstances. At present the motion
               for severance based upon speculative grounds is therefore
               premature.

United States v. Billups, No. 06-cr-129 (PJS/AJB), 442 F. Supp. 2d 697, 706 (D. Minn. 2006)

(Boylan, M.J.); see also Banks, 2011 U.S. Dist. LEXIS 77703, at *7 (“Bruton protections can be

re-evaluated” before trial “or at trial when actual testimony is proffered”).

       Consequently, Defendant Graves’s Motion for Severance, [Docket No. 51], is DENIED

without prejudice.

III.   DEFENDANT GRAVES’S MOTION FOR SUPPRESSION OF ALL PHYSICAL
       EVIDENCE, [DOCKET NO. 49]

       Defendant Graves moves the Court for an order suppressing all physical evidence seized,

including Defendant’s fingerprints and D.N.A., and for an order barring the Government from

using the evidence, or any information directly or indirectly obtained therefrom, including

                                                 11
      CASE 0:13-cr-00236-RHK-LIB             Doc. 77     Filed 01/14/14      Page 12 of 25




evidence seized from Defendant at the time of his arrest. (Def.’s Mot. for Suppression [Docket

No. 49]).

       Defendant Graves argues that law enforcement lacked the requisite probable cause to

arrest him, necessarily requiring suppression of all evidence obtained incident to the arrest,

including statements.

       A.      Standard of Review

       The Fourth Amendment guarantees the “right of people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.” U.S. CONST. AMEND.

IV. “[S]earches conducted outside the judicial process, without prior approval by judge or

magistrate, are per se unreasonable under the Fourth Amendment – subject only to a few

specifically established and well-delineated exceptions.” United States v. Davis, 569 F.3d 813,

816 (8th Cir. 2009) (citing Katz v. United States, 389 U.S. 347, 357 (1967)). Nevertheless, “[i]t

is well settled that a search incident to a lawful arrest is a traditional exception to the warrant

requirement of the Fourth Amendment.” United States v. Robinson, 414 U.S. 218, 224 (1973).

       Defendant Graves does not dispute this well-settled legal principle but instead argues that

there is no legal basis for his arrest; namely, it lacked probable cause. Equally well established is

the principle that a warrantless arrest by law enforcement is reasonable where there is probable

cause to believe that someone has committed or is committing a crime. Devenpeck v. Alford,

543 U.S. 146, 152 (2004). “An officer has probable cause to make a warrantless arrest when the

facts and circumstances are sufficient to lead a reasonable person to believe that the defendant

has committed or is committing an offense.” United States v. Torres-Lona, 491 F.3d 750, 755

(8th Cir. 2007). “A ‘probability or substantial chance of criminal activity, rather than an actual




                                                 12
       CASE 0:13-cr-00236-RHK-LIB                  Doc. 77       Filed 01/14/14         Page 13 of 25




showing of criminal activity’ is sufficient.” United States v. Jones, 535 F.3d 886, 890 (8th Cir.

2008) (quoting Torres–Lona, 491 F.3d at 755).

        In considering whether probable cause existed to arrest a defendant, the Court

“examine[s] the events leading up to the arrest, and then decide[s] whether these historical facts,

viewed from the standpoint of an objectively reasonable police officer, amount to probable

cause.” Maryland v. Pringle, 540 U.S. 366, 371 (2003) (internal quotation marks omitted).

        B.       Analysis

        Law enforcement had probable cause sufficient to justify the warrantless arrest of

Defendant Graves after the head-on collision with Conservation Officer Barron’s patrol vehicle

on June 17, 2012.

        First, an eye-witness at the scene of the reported shots fired immediately provided law

enforcement (both Officer Jourdain and Conservation Officer Barron) with physical descriptions

of two male shooters upon the officers’ prompt arrival on-scene: one male, heavier-set, in a red

shirt, carrying a possible AK-47; and a second male, in black, carrying a shot gun. These

descriptions would, soon after, be corroborated at the nearby scene of the vehicle collision, as the

record indicates that Defendant Graves was arrested at the collision site dressed in black with a

companion dressed in red. 4

        Second, multiple sources – immediately after the shots fired dispatch – corroborated the

involvement of a green Dodge Durango in the reported shots fired incident. First, dispatch

informed officers that the suspects involved in the shots fired had fled the scene in a green

Durango. Second, upon the officers’ arrival at the scene, eye-witness Charlie Coloff reported

4
  Although Defendant Graves argues that the Court received conflicting testimony regarding the precise color of
Defendant Graves’s shirt on June 17, 2012, testimony by Officer Jourdain is clear that an eye-witness identified a
shooter dressed in black, in the company of a shooter dressed in red, and that Officer Jourdain observed Graves, in
black, in the company of Morris, in red, at the scene of the collision. The weight of the evidence in the record
indicates that law enforcement acted according to eye-witness information.

                                                        13
       CASE 0:13-cr-00236-RHK-LIB                  Doc. 77       Filed 01/14/14        Page 14 of 25




seeing the shooters flee in a green Durango. Third, Officer Jourdain and Conservation Officer

Barron observed a green Durango in the area of the shots fired immediately following the report.

Fourth, no officers reported seeing any other vehicles in the vicinity, narrowing the likelihood of

another vehicle’s involvement in the shots fired incident. Finally, the green Durango resisted law

enforcement efforts to pull the vehicle over and ultimately it rammed head-on into a Red Lake

conservation patrol vehicle. 5 At each point in time, as the incident unfolded, the involvement of a

green Durango in the commission of a crime was time and again corroborated and provided law

enforcement with probable cause to arrest those on board.

        Most significantly, the described events – from the initial shots fired report, to the

officer’s arrival on-scene in the Circle Pines housing area, to the discussions with eye-witness

Coloff, to the tracking and pursuit of the green Durango, to the collision and subsequent arrest of

Defendant Graves – happened in short order, if not contemporaneously. Officers reacted and

responded immediately each step of the way and followed “in progress” leads.

        Although law enforcement had sufficient probable cause to arrest Defendant Graves

based on the facts discussed above, the green Durango’s failure to pull-over and Defendant

Graves’s resistance to arrest after the collision may also provide independent grounds for

probable cause warranting an arrest. See, e.g., United States v. Dawdy, 46 F.3d 1427, 1431 (8th

Cir. 1995) (holding that a defendant’s resistance to arrest provided independent grounds for his

arrest, as individuals are not authorized to use force to resist an arrest under Iowa law).

        Defendant Graves’s warrantless arrest was supported by probable cause and was thus

lawful. As a result, any evidence obtained incident to Defendant Graves’s arrest is supported by



5
  The testimony at the suppression hearing further indicated, by the on-scene, contemporaneous observations of the
involved officers, that the green Dodge Durango intentionally rammed head-on into the Red Lake conservation
vehicle.

                                                       14
       CASE 0:13-cr-00236-RHK-LIB                 Doc. 77       Filed 01/14/14         Page 15 of 25




the lawful arrest, and the Court recommends DENYING Defendant Graves’s Motion to

Suppress All Physical Evidence, [Docket No. 49]. 6

IV.     DEFENDANT GRAVES’S MOTION TO SUPPRESS STATEMENTS, [DOCKET
        NO. 65]

        Directly related to Defendant Graves’s Motion to Suppress All Physical Evidence,

[Docket No. 49], is Defendant Graves’s Motion to Suppress Statements, [Docket No. 65].

Defendant Graves only generally moves the Court for an order suppressing all statements taken

in contravention of his constitutional rights. (Def.’s Mot. to Suppress [Docket No. 65], at 1).

Defendant Graves is alleged to have provided two statements in connection with the present

case: Defendant Graves allegedly made a statement while in the back of a squad car after his

arrest, and Defendant Graves gave a statement during a custodial interview.

        Both of the statements at issue were unequivocally made while Defendant Graves was in

custody. As a result, the Court need not consider whether Defendant Graves was in custody at

the time he made the subject statements.

        A.       Standard of Review

        “[Miranda] prohibits the government from introducing into evidence statements made by

the defendant during a custodial interrogation unless the defendant has been previously advised

of his [F]ifth [A]mendment privilege against self-incrimination and right to an attorney.” United

States v. Chipps, 410 F.3d 438, 445 (8th Cir. 2005) (citing Miranda v. Arizona, 384 U.S. 436,

444 (1966)). Miranda warnings are required for official interrogations where a person has been

“taken into custody or otherwise deprived of his freedom of action in any significant way.”

Stansbury v. California, 511 U.S. 318, 322 (1994) (quoting Miranda, 384 U.S. at 444).


6
  The Court recognizes that at no point does Defendant Graves identify any specific evidence obtained incident to
his arrest, or specifically target any evidence requiring suppression. Docket No. 49 and Defendant Graves’s
supporting memorandum, [Docket No.71], references “evidence” only generally.

                                                       15
      CASE 0:13-cr-00236-RHK-LIB            Doc. 77         Filed 01/14/14   Page 16 of 25




However, law enforcement officers “are not required to administer Miranda warnings to

everyone whom they question.” Oregon v. Mathiason, 429 U.S. 492, 495 (1977). “Miranda

warnings are required only where there has been such a restriction on a person’s freedom as to

render him in custody.” Id. (internal quotation omitted).

       A defendant’s waiver of his Miranda rights must be made voluntarily, knowingly, and

intelligently. Miranda, 384 U.S. at 444. When determining whether a waiver was made

voluntarily, knowingly, and intelligently, the court must inquire whether:

               First, the waiver “must have been voluntary in the sense that it was
               the product of a free and deliberate choice rather than intimidation,
               coercion, or deception.” Second, the suspect must have waived his
               rights “with a full awareness of both the nature of the right being
               abandoned and the consequences of the decision to abandon it.”

United States v. Vinton, 631 F.3d 476, 483 (8th Cir. 2011) (internal citations omitted) (quoting

Moran v. Burbine, 475 U.S. 412, 421 (1986)).

       “The government has the burden of proving the validity of the Miranda waiver by a

preponderance of the evidence.” United States v. Haggard, 368 F.3d 1020, 1024 (8th Cir. 2004).

The court “must examine both ‘the conduct of the law enforcement officials and the capacity of

the suspect to resist pressure to confess.’” United States v. Syslo, 303 F.3d 860, 866 (8th Cir.

2002) (quoting United States v. McClinton, 982 F.2d 278, 282 (8th Cir. 1992)). The United

States Supreme Court has explained “that coercive police activity is a necessary predicate to . . .

finding that a confession is not ‘voluntary,’” Colorado v. Connelly, 479 U.S. 157, 167 (1986),

and the Eighth Circuit has read that holding to mean “that police coercion is a necessary

prerequisite to a determination that a waiver was involuntary and not as bearing on the separate

question whether the waiver was knowing and intelligent.” United States v. Turner, 157 F.3d




                                                16
       CASE 0:13-cr-00236-RHK-LIB             Doc. 77      Filed 01/14/14      Page 17 of 25




552, 555 (8th Cir. 1998) (emphasis in original) (quoting United States v. Bradshaw, 935 F.2d

295, 299 (D.C. Cir. 1991)).

       In determining whether a waiver was voluntary, knowing, and intelligently made, a court

“looks at the totality of the circumstances and must determine whether the individual’s will was

overborne.” Syslo, 303 F.3d at 866.

       Third, “[w]hether or not Miranda is implicated, the Supreme Court has recognized that, in

order for a confession to be admitted into evidence, it must be voluntary if it is to satisfy the Fifth

Amendment’s right against self-incrimination.” United States v. Pankey, No. 07-cr-214, 2007

U.S. Dist. LEXIS 86785, at *11 (D. Minn. Oct. 25, 2007) (DWF/RLE) (Erickson, C.M.J.) (citing

Dickerson v. United States, 530 U.S. 428, 433-34 (2000)), adopted by 2007 U.S. Dist. LEXIS

84319 (D. Minn. Nov. 13, 2007) (Frank, J.). When analyzing voluntariness, the Court considers

“whether a defendant’s will was overborne by the circumstances surrounding the giving of a

confession.” Dickerson, 530 U.S. at 434. Furthermore, a statement is involuntary if it “was

extracted by threats, violence, or . . . promises, such that the defendant’s will was overborne and

his capacity for self-determination critically impaired.” United States v. Gallardo-Marquez, 253

F.3d 1121, 1123 (8th Cir. 2001) (quotations and citations omitted; ellipses in original). Whether

a defendant’s will has been overborne is determined by looking at the totality of the

circumstances, including both the conduct of law enforcement in exerting pressure to confess on

the defendant and the defendant’s ability to resist that pressure. United States v. Pierce, 152 F.3d

808, 812 (8th Cir. 1998). Courts consider a multitude of factors including the age of the

defendant, the level of education of the defendant, the lack of advice to the accused on his

constitutional rights, the length of detention, the repeated and prolonged nature of the

questioning, and the use of physical punishment. Schneckloth v. Bustamonte, 412 U.S. 218, 226



                                                  17
      CASE 0:13-cr-00236-RHK-LIB            Doc. 77     Filed 01/14/14     Page 18 of 25




(1973); see also United States v. Brave Heart, 397 F.3d 1035, 1041 (8th Cir. 2005) (stating that

“officers elicit confessions through a variety of tactics, including claiming not to believe a

suspect’s explanations, making false promises, playing on a suspect’s emotions, using his respect

for his family against him, deceiving the suspect, conveying sympathy, and even using raised

voices. . . . None of these tactics render a confession involuntary, however, unless the overall

impact of the interrogation cause the defendant’s will to be overborne” (quotations and citation

omitted).).

       B.      Analysis

       1.      Statement made during transport to Red Lake Detention Center

       There is no question that Defendant was “in custody” for the purposes of Miranda when

he was handcuffed in the back of a Red Lake Police patrol vehicle after his arrest. Additionally,

the record before the Court indicates that Defendant Graves was read a Miranda warning before

he made any statements during the transport. However, the record is devoid of any evidence

suggesting that Defendant Graves’s statements were the product of custodial interrogation.

       The record currently before the Court indicates only that Defendant Graves was

“laughing” in the back of the squad car and speaking candidly about the head-on collision.

Nothing in the record identifies Graves’s alleged squad car statements with any greater

specificity. More importantly, there is no evidence in the present record that Defendant Graves

was interrogated by officers during the entirety of the transport. Absent any evidence that Graves

was asked questions by law enforcement or coerced in any way to make such comments, nothing

in the record indicates that Graves’s squad car statements were anything but voluntary,

independently made remarks. As a result, the Court recommends DENYING Defendant

Graves’s Motion to Suppress with respect to this first statement.



                                                18
       CASE 0:13-cr-00236-RHK-LIB           Doc. 77     Filed 01/14/14     Page 19 of 25




       2.      Custodial interrogation statement

       The Court must determine (1) whether Defendant Graves voluntarily, knowingly, and

intelligently waived his Miranda rights, and (2) whether Defendant Graves’s statements, a

product of a custodial interrogation at the Red Lake Detention Center on June 18, 2012, were

made voluntarily. Although Defendant Graves makes no specific arguments regarding the

voluntariness of his custodial statements, the Court undertakes the analysis for the sake of

complete judicial review.

       As articulated in the facts section above, Defendant Graves was given a Miranda warning

and informed of his rights via an FBI Form FD-395: Advice of Rights immediately prior to the

commencement of his custodial interview. (Gov’t Ex. 3). The record before the Court indicates

that the law enforcement officers went over the form with Defendant Graves, explaining each

right and inquiring as to whether Graves understood each right. Graves read the form, and

Graves voluntarily signed the form after agreeing to speak with law enforcement without an

attorney present. Nothing in the present record indicates that Defendant Graves displayed any

signs of confusion or the inability to understand his rights. To the contrary, testimony indicates

that Graves voluntarily and knowingly agreed to speak with law enforcement.

       Additionally, nothing in the present record indicates the involvement of police coercion, a

“necessary predicate” to finding that a waiver or statement is not voluntarily given. Connelly,

479 U.S. at 167.

       Based on the above facts, the totality of the circumstances indicates that Defendant

Graves, after being well-advised of his Miranda rights, did knowingly, voluntarily, and

intelligently waive those rights.




                                               19
      CASE 0:13-cr-00236-RHK-LIB            Doc. 77     Filed 01/14/14     Page 20 of 25




       Additionally, nothing in the present record indicates that Defendant Graves’s statements

were anything short of voluntary. Nothing in the record indicates the involvement of any

“coercive police activity” by the interviewing agents. The record indicates that no threats,

promises, or other deprivations or coercive techniques were involved in Defendant Graves’s

interview.

       Additionally, there is no evidence that Defendant appeared intoxicated or otherwise

mentally or physically impaired during his custodial interview. Although Defendant Graves may

have been intoxicated during the very early morning hours of June 17, 2012, when he was

initially arrested and transported to the Red Lake Jail, his interview with CI Kwako and SA Pluta

the following day strongly suggests Defendant Graves’s sobriety at the time of the interview. CI

Kwako further testified that, at the time of the June 18, 2012, interview, he observed no signs of

intoxication or other impairment when he interviewed Defendant at the Red Lake Jail, nor did

Defendant Graves make any statements to that effect.

       The totality of the circumstances indicates that (1) Defendant Graves did knowingly,

voluntarily, and intelligently waive his Miranda rights, and (2) Defendant Graves made his June

18, 2012, custodial statements entirely voluntarily. Thus, the Court recommends DENYING

Defendant Graves’s Motion to Suppress Statements, [Docket No. 65].

V.     DEFENDANT MORRIS’S MOTION TO SUPPRESS EVIDENCE, [DOCKET NO.
       44]

       Defendant Morris moves the Court for an order suppressing evidence seized as a result of

his arrest and any and all statements obtained as a result of his post-arrest interrogation.

Defendant Morris filed a motion to suppress evidence seized in connection with his arrest on

June 17, 2012. (Def.’s Motion to Suppress [Docket No. 44]). Specifically, Defendant Morris

moves to suppress the tangible evidence seized during a search of his person and during the

                                               20
       CASE 0:13-cr-00236-RHK-LIB              Doc. 77         Filed 01/14/14   Page 21 of 25




search of the Dodge Durango in which he had been a passenger, in addition to statements

obtained later as a result of his post-arrest interrogation.

        A.      Standard of Review – Motion to Suppress Statements

        See standard of review regarding suppression of statements that are the product of a

custodial interview, Section IV.A, supra.

        B.      Analysis – Motion to Suppress Statements

        Defendant Morris argues that the statements provided during his June 18, 2012, custodial

interview at the Red Lake Detention Center were not voluntarily given, and thus require

suppression.

        As with regards to Defendant Graves’s statements, there is no question that Defendant

Morris was in custody during his interview at the Red Lake Detention Center on June 18, 2012.

Additionally, the record before the Court indicates that Defendant Morris was given a Miranda

warning before he made any statements during the interrogation and that he executed a signed

waiver of said rights. CI Kwako testified that they discussed Defendant Morris’s rights, that

Defendant Morris indicated that he understood each right, that Defendant Morris read and signed

an FBI Form FD-395: Advice of Rights, and that Defendant Morris agreed to speak with law

enforcement.

        Nothing in the present record indicates that Defendant Morris displayed any signs of

confusion or the inability to understand his rights. To the contrary, the testimony indicates that

Morris voluntarily, knowingly, and intelligently agreed to speak with law enforcement without

an attorney present. Furthermore, CI Kwako observed no indications that Defendant Morris was

suffering from any physical or mental impairment, nor did Defendant Morris complain of any

such injuries or impairments. Rather, Defendant Morris’s answers, responses, and general



                                                  21
      CASE 0:13-cr-00236-RHK-LIB           Doc. 77      Filed 01/14/14     Page 22 of 25




demeanor gave every indication that he was alert, aware, and oriented, and capable of

understanding his rights and his decision to waive them.

       Additionally, nothing in the present record indicates the involvement of police coercion, a

“necessary predicate” to finding that a waiver or statement is not voluntarily given. Connelly,

479 U.S. at 167.

       Based on the above facts, the totality of the circumstances indicates that Defendant

Morris, after being advised of his Miranda rights, did knowingly, voluntarily, and intelligently

waive those rights. Thus, the only question before the Court is whether Defendant Morris’s

subsequent statements were coerced or otherwise not voluntarily given.

       There is no evidence in the record indicating “coercive police activity” by either CI

Kwako or SA Pluta during or immediately prior to Defendant Morris’s custodial interview that

would suggest that Defendant Morris’s statements were anything short of voluntary.

Furthermore, nothing in the record currently before the Court indicates that Defendant Morris

was suffering from any lasting injuries either from the vehicle collision the day before or from

Conservation Officer Barron’s takedown kick immediately following that collision. Not only is

the record devoid of any evidence that Defendant Morris suffered any injuries contemporaneous

with the collision and takedown kick, but nothing suggests that Defendant Morris was in any

way inhibited, incapacitated, or otherwise impaired the following day as a result of these

incidents.

       Evaluating the totality of the circumstances surrounding Defendant Morris’s custodial

statements to law enforcement on June 18, 2012, nothing in the record before the Court suggests

that Defendant Morris’s statements were anything but voluntarily, knowingly, and intelligently

given. The totality of the circumstances indicates that (1) Defendant Morris did knowingly,



                                               22
      CASE 0:13-cr-00236-RHK-LIB             Doc. 77     Filed 01/14/14      Page 23 of 25




voluntarily, and intelligently waive his Miranda rights, and (2) Defendant Morris made his June

18, 2012, custodial statements entirely voluntarily. Thus, the Court recommends DENYING

Defendant Morris’s Motion to Suppress, [Docket No. 44], with respect to statements.

       C.      Standard of Review – Motion to Suppress Physical Evidence

       See standard of review regarding searches incident to arrest and warrantless arrests,

Section III.A, supra.

       D.      Analysis – Motion to Suppress Physical Evidence

       As articulated above, “[i]t is well settled that a search incident to a lawful arrest is a

traditional exception to the warrant requirement of the Fourth Amendment.” Robinson, 414 U.S.

at 224. Because Defendant Morris’s initial arrest was supported by probable cause, the search of

his person incident to arrest (revealing shell casing) was lawful.

       As with Defendant Graves, law enforcement had probable cause sufficient to justify the

warrantless arrest of Defendant Morris after the intentional head-on collision with Conservation

Officer Barron’s patrol vehicle on June 17, 2012.

       First, an eye-witness at the scene of the reported shots fired immediately provided law

enforcement (both Officer Jourdain and Conservation Officer Barron) with physical descriptions

of two male shooters upon the officers’ prompt arrival on-scene: one male, heavier-set, in a red

shirt, carrying a possible AK-47; and a second male, in black, carrying a shot gun. These

descriptions would, soon after, be corroborated at the nearby scene of the vehicle collision, as the

record indicates that Defendant Morris was arrested at the collision site dressed in red with a

companion dressed in black.

       Second, multiple sources – immediately after the shots fired dispatch – corroborated the

involvement of a green Dodge Durango in the reported shots fired incident. First, dispatch



                                                 23
       CASE 0:13-cr-00236-RHK-LIB                  Doc. 77       Filed 01/14/14        Page 24 of 25




informed officers that the suspects involved in the shots fired had fled the scene in a green

Durango. Second, upon the officers’ arrival at the scene, eye-witness Charlie Coloff reported

seeing the shooters flee in a green Durango. Third, Officer Jourdain and Conservation Officer

Barron observed a green Durango in the area of the shots fired immediately following the report.

Fourth, no officers reported seeing any other vehicles in the vicinity, narrowing the likelihood of

another vehicle’s involvement in the shots fired incident. Finally, the green Durango resisted law

enforcement efforts to pull the vehicle over and ultimately it rammed head-on into a Red Lake

conservation patrol vehicle. 7 At each point in time, as the incident unfolded, the involvement of a

green Durango in the commission of a crime was time and again corroborated and provided law

enforcement with probable cause to arrest those on board.

        Most significantly, the described events – from the initial shots fired report, to the

officer’s arrival on-scene in the Circle Pines housing area, to the discussions with eye-witness

Coloff, to the tracking and pursuit of the green Durango, to the collision and subsequent arrest of

Defendant Graves – happened in short order, if not contemporaneously. Officers reacted and

responded immediately each step of the way and followed “in progress” leads.

        Defendant Morris’s warrantless arrest was supported by probable cause and was thus

lawful. As a result, any evidence obtained incident to Defendant Morris’s arrest is supported by

the lawful arrest, and the Court recommends DENYING Defendant Morris’s Motion to

Suppress, [Docket No. 44], with respect to physical evidence.

VI.     CONCLUSION

        Based on the foregoing, and all the files, records and proceedings herein, IT IS



7
  The testimony at the suppression hearing further indicated, by the on-scene, contemporaneous observations of the
involved officers, that the green Dodge Durango intentionally rammed head-on into the Red Lake conservation
vehicle.

                                                       24
      CASE 0:13-cr-00236-RHK-LIB            Doc. 77     Filed 01/14/14      Page 25 of 25




HEREBY RECOMMENDED:

   1. That Defendant Graves’s Motion to Sever, [Docket No. 51], be DENIED without

       prejudice, as set forth above;

   2. That Defendant Graves’s Motion to Suppress All Physical Evidence, [Docket No. 49], be

       DENIED, as set forth above;

   3. That Defendant Graves’s Motion to Suppress Statements, [Docket No. 65], be DENIED,

       as set forth above; and

   4. That Defendant Morris’s Motion to Suppress Evidence, [Docket No. 44], be DENIED, as

       set forth above.



Dated: January 14, 2014                                     s/Leo I. Brisbois
                                                            The Honorable Leo I. Brisbois
                                                            U.S. Magistrate Judge




                                          NOTICE

        Upon the requests of both Parties, this Court allowed time for both parties to prepare and
file additional written briefs on the suppression Motions. Consequently, and in light of the
pending trial date of February 24, 2014, the Court now finds it must reduce the time that the
parties are allowed to file, and to respond to, objections to this Report and Recommendation.
        Pursuant to Local Rule 72.2(b), any party may object to this Report and Recommendation
by filing with the Clerk of Court, and serving all parties by January 21, 2014, a writing that
specifically identifies the portions of the Report to which objections are made and the bases for
each objection. A party may respond to the objections by January 28, 2014, or within seven
days of service thereof. Written submissions by any party shall comply with the applicable word
limitations provided for in the Local Rules. Failure to comply with this procedure may operate as
a forfeiture of the objecting party’s right to seek review in the Court of Appeals. This Report and
Recommendation does not constitute an order or judgment from the District Court, and it is
therefore not directly appealable to the Court of Appeals.




                                                25
